                Case:
ILND 450 (Rev. 10/13)    1:16-cv-02748
                      Judgment in a Civil Action   Document #: 39 Filed: 04/17/17 Page 1 of 1 PageID #:340

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Hanan Faraj,

Plaintiff(s),
                                                                    Case No. 16 CV 2748
v.                                                                  Judge John Robert Blakey

Dollar Tree Stores, Inc.,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s) Dollar Tree Stores, Inc.
                    and against plaintiff(s) Hanan Faraj
.
          Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge John Robert Blakey on a motion.



Date: 4/17/2017                                                  Thomas G. Bruton, Clerk of Court

                                                                 G. Lewis , Deputy Clerk
